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                                             CLERK=S OFFICE                                                          CO-932
                                               UNITED STATES DISTRICT COURT                                          Rev. 4/96
                                               FOR THE DISTRICT OF COLUMBIA

                              NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
                                   IN THIS OR ANY OTHER UNITED STATES COURT

                                                                                                   Civil Action No. 1 :20-CV-03590
                                                                                                   (To be supplied by the Clerk)

N OTICE TO PARTIES:

          Pw-suant to Rule 40.5(b)(2), you are required to prepare and submit this f01m at the time of filing any civil action which is
related to any pending cases or which involves the same parties and relates to the same subject matter of any dismissed related cases.
This f01m must be prepared in sufficient quantity to provide one copy for the Clerk=s records, one copy for the Judge to whom the
cases is assigned and one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two
defendant case, etc.

NOTICE TO DEFENDANT:

        Rule 40.5(b)(2) of this Corut requires that you serve upon the plaintiff and file with yow- first responsive pleading or motion
any objection you have to the related case designation.

NOTICE TO ALL COUNSEL

          Rule 40.5(b)(3) of this Corut requires that as soon as an attomey for a patty becomes aware of the existence of a related case
or cases, such attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice
on counsel for all other parties.


The plaintiff , defendant or counsel must complete the following:

I.       RELATIONSHIP OF NEW CASE TO PENDING RELATED CASE(S).

         A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(e=s)
         below .]

             D        ca)     relates to common property

             0        (b)     involves common issues of fact

             m        (c)     grows out of the same event or transaction

             D        (d)     involves the validity or infringement of the same patent

             D        ce)     is filed by the same pro se litigant

2.       RELATIONSHIP OF NEW CASE TO DISMISSED RELATED CASE(ES)

         A new case is deemed related to a case dismissed, with or without prejudice, in this or any other U.S. Corui, if the new case
         involves the~ pa1i ies and~ subject matter.

         Check box if new case is related to a dismissed case:   D
3.      NAME THE UNITED ST ATES COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS
        COURT) :
          N.D. Cal

4.       CAPTION AND CASE NUMBER OF RELATED CASE(E=S). IF MORE ROOM IS NEED PLEASE USE OTHER SIDE.

         _K_u_p_c_h_o_,_et_._a_1._ _ _ _ _ _ _ _ _ _ _ v. _F_a_c_e_b_
                                                                    oo__
                                                                       k,_l_n_
                                                                             c_. _ _ _ _ _ _ _ _ _ _ _ C.A. No. 5:20-CV-08815

        12/ 14/2020
         DATE                                Signature of Plaintiff /Defendant ( or counsel)
